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     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   ALFONSO CORRALES

 6

 7                  IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,        )       CR NO. S-08-00332 GEB
                                      )
11             Plaintiff,             )       STIPULATION AND
                                      )       [PROPOSED] ORDER CONTINUING
12        v.                          )       STATUS CONFERENCE
                                      )
13   ALFONSO CORRALES, et al.,        )
                                      )       Date:    2/13/09
14             Defendants.            )       Time:    9:00 a.m.
                                      )       Judge:   Hon. Garland E.
15                                                     Burrell

16
          IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, Michael M. Beckwith, Assistant
18
     United States Attorney, together with counsel for defendant
19
     Alfonso Corrales, John R. Manning, Esq., and defendant Hillario
20
     Carranza, John H. Feiner that the status conference presently set
21
     for February 13, 2009 be continued to April 3, 2009, at 9:00
22
     a.m., thus vacating the presently set status conference.          Counsel
23
     for the parties agree that this is an appropriate exclusion of
24
     time within the meaning of Title 18, United States Code §
25
     3161(h)(8)(B)(iv) (continuity of counsel/ reasonable time for
26
     effective preparation) and Local Code T4, and agree to exclude
27
     time from the date of the filing of the order until the date of
28
                                          1
           Case 2:08-cr-00332-GEB Document 34 Filed 02/12/09 Page 2 of 3


 1   the status conference April 3, 2009.

 2

 3   IT IS SO STIPULATED.

 4   Dated: February 11, 2009                   /s/ John R. Manning
                                              JOHN R. MANNING
 5                                            Attorney for Defendant
                                              Alfonso Corrales
 6

 7   Dated: February 11, 2009                   /s/ John H. Feiner
                                              JOHN H. FEINER
 8                                            Attorney for Defendant
                                              Hillario Carranza
 9

10
     Dated: February 11, 2009                 McGREGOR W. SCOTT
11                                            United States Attorney

12
                                        by:     /s/ Michael M. Beckwith
13                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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              Case 2:08-cr-00332-GEB Document 34 Filed 02/12/09 Page 3 of 3


 1                     IN THE UNITED STATES DISTRICT COURT

 2                   FOR THE EASTERN DISTRICT OF CALIFORNIA

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 5

 6   UNITED STATES OF AMERICA,       ) Case No. CR.S-08-00332 GEB
                                     )
 7                  Plaintiff,       )
                                     )
 8        v.                         ) [PROPOSED] ORDER TO
                                     ) CONTINUE STATUS CONFERENCE
 9   ALFONSO CORRALES, et al.,       )
                                     )
10                                   )
                    Defendants.      )
11   _______________________________ )

12

13        GOOD CAUSE APPEARING, it is hereby ordered that the February

14   13, 2008 status conference be continued to April 3, 2009 at 9:00

15   a.m. I find that the ends of justice warrant an exclusion of time

16   and that the defendant’s need for continuity of counsel and

17   reasonable time for effective preparation exceeds the public

18   interest in a trial within 70 days.         THEREFORE IT IS FURTHER

19   ORDERED that time be excluded pursuant to 18 U.S.C. §

20   3161(h)(8)(B)(iv) and Local Code T4 from the date of this order

21   to April 3, 2009.

22

23   IT IS SO ORDERED.

24   Dated:    February 12, 2009
25

26                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
27

28
                                           3
